            Case 4:02-cr-40030-JPG                     Document 129 Filed 08/27/07                         Page 1 of 2           Page ID
                                                                 #127
% A 0 245D      (Rev 12103) Judgment in a Crlmnnal Case for Revocat~ons
                Sheet I


                                       UNITEDSTATES
                                                  DISTRICT          ,D'b2 TR7 2007
                                                         COURT,.c-~,,         CT '?OURS
                                                                                                                  'v""'xr~     fJISTelcT,             ,LL,
                         SOUTHERN                                   District of                                   ILLINOI&y;,     ,                          ars
                                                                                                                                              It.-F
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                               v.                                          (For Revocation of Probation or Supervised Release)

                     MlKl JO LAMPLEY
                                                                           Case Number:           4:02CR40030-002
                                                                           USM Number: 05737-026
                                                                            Judith Kuenneke, FPD
                                                                           Defendant's Attorney
THE DEFENDANT:
@f admitted guilt to violation of condition(s) as alleged in petition                        of the term of supervision.

     was found in violation of condition(s)                                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                             Violation Ended
 Statutory                           The defendant committed the offense of False Statements                         7/2/2007

 Statutory                           The defendant tasted positive for cocaine                                       6/25/2007
 Standard # 2                        The defendant failed to ~rovidetruthful information                             7/3/2007

 Special                             The defendant failed to report for counseling                                   7112/2007

       The defendant is sentenced as provided in pages 2 through                  2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
17 The defendant has not violated condition@)                                         and is discharged as to such violation(s) condition.


                                                         Y
          It is ordered that the defendant must noti the United States attomey for this district within 3O.days of any ,
change of name, res~dence,or mailing address unti all fines, restltutlon, costs, and special assessments imposed by t h ~judgment
                                                                                                                         s
fully pajd. If ordered to pay restitution, the defendant must notify the court and United States attomey of mater~alchanges in
                                                                                                                                  are
economlc circumstances.

Defendant's S o c Sec. No.:    XXX-XX-XXXX                                  811612007
                                                                           Date of Imposition afJudgment
Defendant's Date of Birth:     111974


Defendant's Residence Address:

 Benton. IL 62812
                                                                            J. Phil Gilbert                                  District Judge
                                                                           Name of Judge                                     Tltle of Judge
                                                                                  /'-'
Defendant's Mailing Address:

 Same as above
             Case 4:02-cr-40030-JPG                    Document 129 Filed 08/27/07                     Page 2 of 2       Page ID
                                                                 #128
  A 0 245D    (Rev. 12/03 Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment



  DEFENDANT: MlKl JO LAMPLEY
                                                                                                       Judgment -Page   2of        2

  CASE NUMBER: 4:02CR40030-002


                                                                IMPRISONMENT

          The defendant is hereby committed to the custody o f the United States Bureau of Prisons to be imprisoned for a
  total term o f :
26 months




       @fThe court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program and that the defendant receive mental health
treatment.


       @ The defendant is remanded to the custody o f the United States Marshal.
          The defendant shall surrender to the United States Marshal for this district:
               at                                        a.m.           p.m.    on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                         to

  at                                                   with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                               BY
                                                                                                 DEPUTY UNITED STATES MARSHAL
